             Case 2:10-cr-00193-WBS Document 82 Filed 07/31/12 Page 1 of 2


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   BENJAMIN GALLOWAY, Bar #214897
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone (916) 498-5700
 5
     Attorney for Defendant
 6   ERIC MORTENSON
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )         No. CR-S-10-0193-EJG
                                  )
12                  Plaintiff,    )
                                  )         STIPULATION AND ORDER RE
13             v.                 )         PROPOSED TRAVEL
                                  )
14   ERIC MORTENSON; LAWRENCE     )
     DAVIS, JR.; JOEL D. CLARK, )           JUDGE: Hon. Edward J. Garcia
15                                )
                                  )
16                  Defendants. )
     ____________________________ )
17
18
19        It is hereby stipulated and agreed to between the United States of
20   America through Lee Bickley Assistant U.S. Attorney; defendant, ERIC
21   MORTENSON, by and though his counsel, Benjamin Galloway, Assistant
22   Federal Defender, that Mr. Mortenson’s travel condition be modified to
23   read:
24        Your travel is restricted to the United States, for the
          purposes of employment, without the prior consent of the
25        pretrial services officer. Any travel outside the Eastern and
          Northern Districts of California for any other purpose other
26        than employment must be approved in advance by Pretrial
          Services.
27
28
              Case 2:10-cr-00193-WBS Document 82 Filed 07/31/12 Page 2 of 2


 1         Mr. Mortenson has been under Pretrial Services supervision since
 2   May 2010.     No violations have been filed and Mr. Mortenson has made all
 3   of his required court appearances.         He has no special conditions.
 4         The parties and Pretrial Services recommend this condition be
 5   modified to allow Mr. Mortenson to travel throughout the United States
 6   for the purpose of employment.        Mr. Mortenson has started a new truck
 7   driving job which will require that he travel throughout the United
 8   States.
 9
10
11   Dated: July 30, 2012                      Respectfully submitted,
12                                             DANIEL J. BRODERICK
                                               Federal Defender
13
14                                             /s/ Benjamin Galloway
                                               BENJAMIN GALLOWAY
15                                             Assistant Federal Defender
                                               Attorney for Defendant
16                                             ERIC MORTENSON
17   Dated:    July 30, 2012                   BENJAMIN B. WAGNER
                                               United States Attorney
18
                                               /s/ Benjamin Galloway for
19                                             LEE BICKLEY
                                               Assistant U.S. Attorney
20
21                                        O R D E R
22          Based on the parties' stipulation, the pretrial service officer's
23   agreement and good cause appearing therefrom, the Court hereby adopts
24   the stipulation of the parties in its entirety.
25   IT IS SO ORDERED.
26   Dated: July 30, 2012
27
28


     Stipulation & Order/Eric Mortenson        2
